  8:05-cr-00160-JFB-TDT            Doc # 32   Filed: 09/07/05      Page 1 of 1 - Page ID # 46



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             Case No. 8:05CR160
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
DENICE M. NIEDZIELA,                          )
                                              )
                      Defendant.              )


       IT IS ORDERED that a change of plea for the defendant is scheduled before the

undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th

Plaza, Omaha, Nebraska, on September 12, 2005, at 10:30 a.m. Since this is a criminal case, the

defendant shall be present, unless excused by the court. If an interpreter is required, one must be

requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.

       DATED this 7th day of September, 2005.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
